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 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                             CASE NO. 2:09-cv-02445-KJM-EFB
12               Plaintiff,                                 ORDER REGARDING MOTION BY THE
                                                            UNITED STATES TO COMPEL
13    v.                                                    DEPOSITION TESTIMONY AND
                                                            PRODUCTION OF DOCUMENTS
14    SIERRA PACIFIC INDUSTRIES, et al.,
                                                            Date:           October 26, 2011
15               Defendants.                                Time:           10:00 a.m.
                                                            Judge:          Hon. Edmund F. Brennan
16    _____________________________________                 Courtroom:      24, 8th Floor
                                                            Trial Date:     April 23, 2012
17    AND RELATED CROSS-ACTIONS.
18
19          This matter was before the Court on October 26, 2011, for hearing on the United States' Motion
20   to Compel Deposition Testimony and Production of Documents against Defendants Sierra Pacific
21   Industries ("SPI"), and W.M. Beaty and Associates, Inc. and the Landowners (collectively "Beaty").
22   After considering the motions, the joint statement regarding the discovery dispute, the declarations and
23   exhibits submitted by the parties, and oral argument, the Court hereby GRANTS the United States'
24   motion in full. The Court orders as follows:
25          1.      Defendants shall produce all documents responsive to the United States' Requests for
26   Production No. 536 to SPI and No. 509 to Beaty, including any and all documents, photographs and
27   data that Gary White and Walt Wruble generated, read, review, saw, used, or reflected upon during, as
28   a result of, or in connection with their visits to and investigation of the alleged Moonlight Fire origin



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 1   area. All such documents shall be produced no later than November 2, 2011.
 2          2.      SPI will produce Gary White at deposition for an additional 3.5 hours to answer
 3   questions related to Mr. White's investigation of the Moonlight Fire origin area, including any opinions
 4   he may have formed as to the origin of the Moonlight Fire and the basis of those opinions. Walt
 5   Wruble will be produced for an additional 7.0 hours of deposition and is ordered to answer all
 6   questions related to his investigation of the Moonlight Fire origin area, including any opinions he may
 7   have formed as to the origin of the Moonlight Fire and the basis of those opinions.
 8   DATED: November 7, 2011.
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     Order re US Motion to Compel Deposition Testimony and Production                                          2
